      Case 2:17-cr-00328-MHT-CSC Document 22 Filed 11/20/17 Page 1 of 4




                  IN THE UNITED STATES DISTRICT COURT FOR
                      THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
v.                                         )              CR NO. 2:17-CR-328-MHT
                                           )              [WO]
LASONYA ATWOOD                             )

                             ORDER ON ARRAIGNMENT

       On November 16, 2017, the defendant, Lasonya Atwood, appeared in person and
in open court with counsel, Clinton Richardson, and was arraigned in accordance with
the provisions of Rule 10 of the Federal Rules of Criminal Procedure.

        PLEA. The defendant entered a plea of NOT GUILTY. Counsel for the
defendant is requested to contact the U.S. Attorney immediately if the defendant intends to
engage in plea negotiations. If the defendant decides to change this plea, the parties shall
file a notice of intent to plead guilty or otherwise notify the clerk’s office at or before the
pretrial conference and then this action will be set on a plea docket.

        PRELIMINARY SENTENCING GUIDELINES INFORMATION. The court
no longer requires the United States Probation Office to provide preliminary sentencing
guideline information to defendants. However, in difficult or complex cases defendants
may request the United States Probation Office to provide Sentencing Guideline
calculation assistance with the understanding that any estimate is tentative only and is not
binding on the United States Probation Office, the parties or the court. The court expects
that requests for Sentencing Guideline calculation assistance shall be the exception and that
defendants will not make such requests a matter of routine. A request for Sentencing
Guideline calculation assistance shall be made to the United States Probation Office not
later than 10 days from the date of this order.

       PRETRIAL CONFERENCE. An initial pretrial conference is hereby set for
February 7, 2018 at 1:00 p.m., before U.S. Magistrate Judge Charles S. Coody, in
Courtroom 4-B, United States Courthouse Complex, One Church Street, Montgomery,
Alabama. Not later than three (3) days prior to the date of the pretrial conference,
counsel shall confer about the issues and matters to be discussed at the pretrial
conference as set forth in this order. Counsel who want in-custody defendants to attend
must notify the Magistrate Judge within three days of the conference date so that an order
to produce can be issued to the United States Marshal.

       At the pretrial conference defense counsel and counsel for the government shall be
      Case 2:17-cr-00328-MHT-CSC Document 22 Filed 11/20/17 Page 2 of 4




fully prepared to discuss all pending motions, the status of discovery, possible stipulations,
and the estimated length of the trial. The defense counsel and counsel for the government
shall be fully prepared to provide a definite commitment as to the final disposition of this
case—by trial, plea or other non-trial disposition. If resolution of a dispositive motion
will affect the nature of this commitment, counsel must be fully prepared to discuss this
type of resolution. If the case is for plea, the notice of intent to enter a plea should be filed
at the time of the pretrial conference. If counsel require additional time for plea
negotiations, counsel should be prepared to inform the court about the date when those
negotiations will be completed.

        TRIAL. At arraignment, the parties agreed that due to the nature of this case, the
need for adequate time for discovery and the need for counsel to have adequate time for
trial preparation, the case should be set for trial before Senior United States District
Judge Myron H. Thompson, on the trial term beginning on March 12, 2018, at the
Federal Courthouse in Montgomery, Alabama, unless otherwise ordered by the court.

          In setting this case for trial on the term indicated above, the court recognizes that
the Speedy Trial Act places limits on the court’s discretion, and that under the act, the trial
of a defendant must commence within 70 days of the date of the indictment or the date of
the defendant’s first appearance before a judicial officer, whichever is later. 18 U.S.C. §
3161(c)(1). In determining whether a case should be set after the expiration of the 70-day
period, a court must consider among other factors “[w]hether the failure to [set the case at
a later date] . . . would be likely to . . . result in a miscarriage of justice.” 18 U.S.C. §
3161(h)(8)(B)(I). The court also must consider “whether the failure to grant such a
continuance . . . would deny counsel for the defendant or the attorney for the government
the reasonable time necessary for effective preparation, taking into account the exercise of
due diligence.” 18 U.S.C. § 3161(h)(8)(B)(iv). Based on the nature of this case, the
parties’ need for adequate time for discovery and the need for counsel to have adequate
time for trial preparation, particularly with respect to potential mental health issues
involving this defendant, the court finds that the ends of justice served by setting this case
on this trial term outweigh the best interest of the public and the defendant in a speedy trial.
Any requested voir dire questions and jury instructions must be filed no later than one
week before jury selection.

      PRETRIAL MOTIONS. All pretrial motions under Fed.R.Crim.P. 12(b) and (d),
14 and 16, all notices under Fed.R.Crim.P. 12.1, 12.2 and 12.3, and any motion to compel
pursuant to M.D. Ala. LCrR 16.1 Criminal Discovery must be filed no later than TWO
DAYS BEFORE THE FIRST PRETRIAL CONFERENCE HELD IN THIS CASE.
No motion filed after this date will be considered unless filed with leave of court. Unless
otherwise ordered by the court, the continuance of the trial of a case will not extend the
time for filing pretrial motions. THE CONFERENCING REQUIREMENT SET
FORTH IN M.D. Ala. LCrR 16.1(c) CRIMINAL DISCOVERY SHALL BE MET
BEFORE THE COURT WILL CONSIDER ANY DISCOVERY MOTION. THE
         Case 2:17-cr-00328-MHT-CSC Document 22 Filed 11/20/17 Page 3 of 4




COURT WILL NOT GRANT MOTIONS TO ADOPT MOTIONS FILED BY
OTHER DEFENDANTS.

       Motions to suppress must allege specific facts which, if proven, would provide a
basis of relief. This court will summarily dismiss suppression motions which are
supported only by general or conclusory assertions founded on mere suspicion or
conjecture. All grounds upon which the defendant relies must be specifically stated
in the motion in separately numbered paragraphs in a section of the motion which is
labeled "Issues Presented." Grounds not stated in the "Issues Presented" section of
the motion will be deemed to have been waived. See generally United States v.
Richardson, 764 F.2d 1514,1526-27 (11th Cir. 1985).

       Unless otherwise ordered, the government shall file a response to all motions filed
by the defendant on or before seven days prior to the date set for a hearing on the
motion or, if no hearing is necessary, on or before fourteen (14) days after the date of
the pretrial conference.

       DISCOVERY. All discovery in this action shall be conducted according to the
requirements of M.D. Ala. LCrR 16.1 Criminal Discovery. A copy of this Rule may be
found at http://www.almd.uscourts.gov/forms/almd-local-rules. Unless the government
provided initial disclosures to defendant prior to or at arraignment, the government is
ORDERED to tender initial disclosures to the defendant on or before November 16, 2017.
Disclosures by the defendant, as required by M.D. Ala. LCrR 16.1(a)(4) shall be provided
on or before November 23, 2017,

      JENCKS ACT STATEMENTS. The government agrees to provide defense
counsel with all Jencks Act statements no later than the day scheduled for the
commencement of the trial.1

       MANDATORY APPEARANCE OF COUNSEL. Counsel of record for all
parties are ORDERED to appear at all future court proceedings in this criminal case.
Those attorneys who find it impossible to be in attendance (especially at the pretrial
conference, jury selection, or trial) must make arrangements to have substitute counsel
appear on behalf of their clients. Any attorney who appears as substitute counsel for a
defendant shall have full authorization from the defendant to act on his or her behalf and
be fully prepared to proceed. Substitute counsel shall not be counsel for a co-defendant
unless permitted by the court after proper motion. Any counsel who wishes to have
substitute counsel appear must obtain permission of the court in advance.

          NOTE: Except in extraordinary circumstances or circumstances in which the

1
    In certain complex cases, the government may agree to earlier production.
     Case 2:17-cr-00328-MHT-CSC Document 22 Filed 11/20/17 Page 4 of 4




Constitution would require it, the court will not entertain motions to withdraw filed
by counsel who appear at arraignment unless the motions are filed within fourteen
(14) days of the date of this order. Failure to obtain fees from a client is not an
extraordinary circumstance.

      DONE this the 20th day of November, 2017.
